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              State of Tennessee v. Benjamin Scott BrewerE2019-00355-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Don W. PooleBenjamin Scott Brewer, Defendant, was convicted after a jury trial of six counts of vehicular homicide by intoxication, four counts of reckless aggravated assault, driving under the influence, violation of motor carrier regulations, and speeding. As a result, Defendant was sentenced to an effective sentence of 55 years in incarceration. Defendant appeals his convictions and sentences, arguing on appeal that the State violated Brady v. Maryland, 373 U.S. 83, 87 (1963); that the trial court improperly certified a witness as a drug recognition expert; that the evidence was insufficient to show intoxication; and that the trial court improperly sentenced Defendant to consecutive sentences. Following our review, the judgments of the trial court are affirmed.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              04/06/20            
                      
                          
                      
                          
                  
                        
                      
              Jeremy Cooper v. State of TennesseeW2019-01080-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge R. Lee Moore, Jr.Petitioner, Jeremy Cooper, pled guilty to possession with intent to sell or deliver methamphetamine in an amount over .5 grams. Petitioner was sentenced to twelve-years’ incarceration to be served concurrently with a ten-year, Madison County, sentence he was already serving. Petitioner filed a petition for post-conviction relief arguing he received ineffective assistance of counsel. Thepost-conviction court denied relief. After a reviewing the record, we affirm the judgement of the post-conviction court.            
                      
              Lake County            
                      
              Court of Criminal Appeals             
                      
              04/03/20            
                      
                          
                      
                          
                  
                        
                      
              Roy L.Crawford v. Georgia Crowell, WardenE2019-01199-CCA-R3-HCAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Stacy L. StreetThe Petitioner, Roy L. Crawford, appeals the Johnson County Criminal Court’s summary dismissal of his petition for a writ of habeas corpus for the alleged unlawful detainment related to an escape charge, for which he was not convicted, and to his second degree murder conviction, for which he received a life sentence.&nbsp; The Petitioner contends that the habeas corpus court erred by summarily dismissing his petition.&nbsp; We affirm the judgment of the habeas corpus court.            
                      
              Johnson County            
                      
              Court of Criminal Appeals             
                      
              04/02/20            
                      
                          
                      
                          
                  
                        
                      
              Carlos Rice v. Jonathan Lebo, WardenW2019-01753-CCA-R3-HCAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Joe H. Walker, IIIThe pro se petitioner, Carlos Rice, appeals the denial of his petition for writ of habeas corpus by the Circuit Court for Lauderdale County, arguing the habeas corpus court erred in summarily dismissing the petition. The petitioner asserts that his sentence has expired and that he is being held past his release date. Following our review, we affirm the habeas court’s dismissal of the petition because the petitioner has failed to show he is entitled to relief.            
                      
              Lauderdale County            
                      
              Court of Criminal Appeals             
                      
              04/02/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Quintin BrittenumW2019-00521-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge W. Mark WardThe Defendant-Appellant, Quintin Brittenum, was convicted by a Shelby County jury of rape of a child and two counts of aggravated sexual battery, for which he received an effective sentence of fifty-five years’ imprisonment. Tenn. Code Ann. §§ 39-13-504, -522. In this appeal as of right, the Defendant’s sole issue for our review is whether the evidence is sufficient to support each of his convictions. Upon our review, we affirm.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/02/20            
                      
                          
                      
                          
                  
                        
                      
              David Black v. State of TennesseeW2019-00308-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Paula L. SkahanThe Petitioner, David Black, appeals the Shelby County Criminal Court’s denial of his petition for post-conviction relief from his convictions of attempted rape of a child and aggravated sexual battery and resulting twelve-year sentence. On appeal, the Petitioner contends that he received the ineffective assistance of counsel because trial counsel failed to object to the trial court’s jury instruction on aggravated sexual battery and failed to argue in his motion for new trial that the instruction was erroneous, trial counsel advised him not to testify at trial, and appellate counsel failed to argue on direct appeal of his convictions that the proof did not meet the elements of aggravated sexual battery. Based upon the oral arguments, the record, and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/01/20            
                      
                          
                      
                          
                  
                        
                      
              William Lanier v. State of TennesseeW2018-01434-CCA-R3-PCAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge James M. Lammey, Jr.The Petitioner, William Lanier, appeals from the denial of his petition for post-conviction relief, wherein he challenged his jury conviction for premeditated first degree murder. On appeal, the Petitioner alleges that his two attorneys provided ineffective assistance of counsel relating to the following: (1) original counsel’s investigation and preservation of an alibi witness’s testimony; (2) trial counsel’s investigation and presentation of a third-party defense at trial; (3) trial counsel’s decision to call or not call certain witnesses; (4) trial counsel’s failure to object to false or prejudicial testimony and statements by the State in closing; (5) trial counsel’s failure to impeach a witness’s reason for changing her statement; (6) trial counsel’s failure to request a special jury instruction; (7) trial counsel’s failure to object to testimony about a theft ring and counsel’s eliciting testimony about the same; and (8) original counsel’s failure to argue the motion to dismiss for lack of corpus delicti. The Petitioner also requests a new post-conviction hearing because the post-conviction court failed to make findings of fact related to two of his issues. After a thorough review of the record, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/01/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Markist Kantrell ColeW2019-00079-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Roy B. Morgan, Jr.The Defendant, Markist Kantrell Cole, appeals his convictions for attempted second degree murder, aggravated assault, employing a firearm during the commission of a dangerous felony, and reckless endangerment, alleging that the evidence was insufficient to support his convictions and that the trial court erred by issuing a jury instruction on flight. Following our review, we affirm.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              04/01/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Marcellus Hurt Dissent in Part/Concur in PartW2017-02179-CCA-R3-CDAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Lee V. CoffeeRespectfully, I disagree with the majority opinion’s conclusions that the victim’s testimony regarding the cost of the repairs to his car was inadmissible hearsay and that admission of this evidence necessitates a new trial for the vandalism conviction.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/01/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Marcellus HurtW2017-02179-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Lee V. CoffeeA Shelby County Criminal Court Jury convicted the Appellant, Marcellus Hurt, of aggravated assault, vandalism, and domestic assault. The trial court imposed a total effective sentence of sixteen years, eleven months, and twenty-nine days. On appeal, the Appellant contends that: (1) the trial court erred by allowing the State to argue a new theory during rebuttal, (2) the trial court erred by allowing the victim to testify regarding the cost of the repairs to his car; (3) the evidence was not sufficient to sustain his convictions of aggravated assault and felony vandalism; and (4) the trial court erred by sentencing the Appellant for a Class D felony for the vandalism conviction, by erroneously applying enhancement factors, and by imposing consecutive sentencing. Upon review, we agree that the trial court erred by admitting hearsay testimony regarding the amount of the damages. Therefore, we must reverse the Appellant’s vandalism conviction and remand for a new trial on that charge. The Appellant’s judgments are affirmed in all other respects.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/01/20            
                      
                          
                      
                          
                  
                        
                      
              Michael Shane McCullough v. State of TennesseeW2019-00629-CCA-R3-PCAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Jeffery W. ParhamThe Petitioner, Michael Shane McCullough, challenges the denial of his petition for post-conviction relief attacking his jury convictions for criminal littering, initiation of a process to manufacture methamphetamine, and promotion of methamphetamine manufacture. On appeal, the Petitioner alleges that he received ineffective assistance due to (1) trial counsel’s failure to interview the arresting officer and investigate the case, especially as it related to the weather conditions on the night of the Petitioner’s traffic stop; (2) trial counsel’s failure to adequately cross-examine the State’s witnesses at trial about the substance found in the ditch; and (3) trial counsel’s (who was also appellate counsel) failure to challenge the sufficiency of the evidence supporting his Class B misdemeanor conviction for criminal littering. After our review, we conclude that the Petitioner received ineffective assistance with regard to the appropriate classification of his criminal littering conviction; however, the Petitioner’s other allegations of ineffective assistance are without merit. We must reverse the post-conviction court’s judgment and remand the case for correction of the Petitioner’s mitigated criminal littering conviction judgment form to reflect the appropriate Class C misdemeanor classification and a corresponding thirty-day sentence.            
                      
              Obion County            
                      
              Court of Criminal Appeals             
                      
              03/31/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jay HathawayM2019-00540-CCA-R3-COAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge Deanna B. JohnsonThe Defendant, Jay Hathaway, appeals the probation revocation order from a February 25, 2019 probation violation hearing. The trial court determined that the Defendant had violated the terms of his probation sentence, applied eighty-five days of time served toward the revocation sentence, and ordered an additional sixty days to serve in jail before the Defendant would be reinstated to a sentence of eleven months and twenty-nine days. On appeal, the Defendant asserts that he was denied due process because he was not provided an expert on the issue of drug patch testing. After review, we affirm the trial court’s judgment.            
                      
              Williamson County            
                      
              Court of Criminal Appeals             
                      
              03/31/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Christopher Ricardo BondsW2018-01954-CCA-R3-CDAuthoring Judge: Judge Norma Mcgee OgleTrial Court Judge: Judge R. Lee Moore, Jr.A Dyer County Circuit Court Jury convicted the Appellant, Christopher Ricardo Bonds, of evading arrest, a Class A misdemeanor. After a sentencing hearing, the trial court ordered that he serve nine months in jail at seventy-five percent release eligibility. On appeal, the Appellant contends that the trial court arbitrarily imposed the percentage of the sentence to be served in confinement. Based upon the oral arguments, the record, and the parties’ briefs, we affirm the judgment of the trial court.            
                      
              Dyer County            
                      
              Court of Criminal Appeals             
                      
              03/31/20            
                      
                          
                      
                          
                  
                        
                      
              Dontavious Hendrix v. State of TennesseeW2019-00171-CCA-R3-PCAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Donald H. AllenThe Petitioner, Dontavious Hendrix, was convicted of second-degree murder and subsequently sentenced to twenty-five years. See Tenn. Code Ann. § 39-13-210(a)(1). Following denial of his direct appeal, the Petitioner filed a petition seeking postconviction relief, alleging that trial counsel was ineffective based on the following grounds: (1) implementing an inappropriate trial strategy by allowing Monderrius Miller to testify on behalf of the defense; (2) failing to properly advise the Petitioner of his right to testify on his own behalf; and (3) failing to interview potential witnesses. Following our review, we affirm.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              03/27/20            
                      
                          
                      
                          
                  
                        
                      
              Eugene Spivey v. Shawn Phillips, WardenW2019-00932-CCA-R3-HCAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge R. Lee Moore, Jr.The pro se petitioner, Eugene Spivey, appeals from the summary dismissal of his petition for writ of habeas corpus. Following our review, we affirm the ruling of the trial court.            
                      
              Lake County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. LaDarius BerryW2019-00310-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Lee V. CoffeeA Shelby County grand jury indicted the defendant, LaDarius Berry, for attempted second degree murder (count 1), aggravated assault (count 2), employing a firearm during the commission of a dangerous felony (count 3), and reckless endangerment with a deadly weapon (count 4). After trial, a jury convicted the defendant as charged in counts 2, 3, and 4 and found him guilty of thelesser-included offense of attempted voluntary manslaughter in count 1. The trial court merged the defendant’s convictions in counts 1 and 2 and imposed an effective twelve-year sentence. On appeal, the defendant challenges the sufficiency of the evidence supporting his convictions and the sentencing imposed by the trial court. After our review, we affirm the judgments of the trial court, but remand the case for the specific purposes of entry of amended judgments as to counts 1 and 2 to reflect the non-merger of the offenses as well as the determination by the trial court as to whether the sentences in counts 1 and 2 should be served consecutively or concurrently.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Antwon YoungW2019-00492-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Paula L. SkahanA Shelby County jury convicted the defendant, Antwon Young, of aggravated robbery and especially aggravated kidnapping, for which he received an effective sentence of thirty years. On appeal, the defendant challenges the sufficiency of the evidence supporting his convictions and asserts the State made two improper statements during closing argument. After reviewing the record and considering the applicable law, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Rashari JonesW2018-02180-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Chris CraftA Shelby County grand jury indicted the defendant, Rashari Jones, for attempted first degree murder, aggravated assault while acting in concert with two or more persons, and employing a firearm during the commission of a dangerous felony. Following a trial, a jury found the defendant guilty of attempted voluntary manslaughter, aggravated assault, and employing a firearm during the commission of a dangerous felony, and the trial court imposed an effective sentence of six years in confinement followed by four years of supervised probation. On appeal, the defendant contends the trial court erred in allowing the State to cross-examine the defendant regarding his whereabouts preceding the shooting, in finding the defendant was engaged in unlawful activity and omitting the “no duty to retreat” language from the self-defense instruction, and in failing to merge his convictions for attempted voluntary manslaughter and aggravated assault. We conclude that although the self-defense instruction was erroneous, the error was harmless. Therefore, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              Eric Wooten v. State of TennesseeW2019-01228-CCA-R3-PCAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge W. Mark WardThe petitioner, Eric Wooten, appeals the dismissal of his petition for post-conviction relief arguing the post-conviction court erred in dismissing his petition as untimely. Upon review, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Donald Hyberger M2019-01391-CCA-R3-CDAuthoring Judge: Judge J. Ross Dyer Trial Court Judge: Judge Agelita Blackshear Dalton After the defendant, Donald Hyberger, caused a motor vehicle accident, a Davidson County grand jury indicted him for reckless endangerment with a deadly weapon (count 1), driving under the influence, third offense (count 2), and driving under the influence, per se, third offense (count 3). The defendant filed a motion to suppress the evidence of a blood draw obtained while he was hospitalized after the accident. After the trial court denied the motion, the defendant pled guilty to driving under the influence, per se, third offense but reserved a certified question of law pursuant to Rule 37(b)(2) of the Tennessee Rules of Criminal Procedure regarding the motion to suppress the blood draw. Upon our review, we conclude the defendant failed to properly certify the question of law pursuant to Rule 37(b)(2). Accordingly, this Court is without jurisdiction, and the appeal is dismissed.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              Larry Braswell v. State of TennesseeE2019-01509-CCA-R3-HCAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Barry A. SteelmanThe Petitioner, Larry Braswell, appeals from the Hamilton County Criminal Court’s dismissal of his petition for a writ of habeas corpus. On appeal, the Petitioner contends that the habeas corpus court erred in dismissing the petition, rather than granting relief. We affirm the judgment of the habeas corpus court.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              Jeffrey T. Siler, Jr. v. State of TennesseeE2019-00018-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge G. Scott GreenOver twenty years ago, a Knox County jury found Petitioner, Jeffrey T. Siler, Jr., guilty of first degree felony murder. At the advice of his trial counsel and prior to the jury trial, the then seventeen year old Petitioner pled guilty to attempted especially aggravated robbery which formed the basis for the felony murder charge. Petitioner received an eight-year sentence for the attempted especially aggravated robbery charge to be served concurrently with the life sentence for the felony murder charge. Petitioner’s convictions were affirmed on direct appeal. See State v. Jeffrey T. Siler, No. E2000- 01570-CCA-R3-CD, 2001 WL 387088 (Tenn. Crim. App. Apr. 17, 2001) perm. app. denied (Tenn. June 20, 2014) (“Siler I”). On February 13, 2009, Petitioner filed a petition for post-conviction relief. The post-conviction court summarily dismissed the petition as untimely. This Court reversed the post-conviction court and remanded for an evidentiary hearing to determine whether due process tolled the statute of limitations and to consider Petitioner’s claims regarding his mental condition. See State v. Jeffrey T. Siler, No. E2009-00436-CCA-R3-PC, 2010 WL 1444511 (Tenn. Crim. App. Apr. 12, 2010), no perm. app. filed (“Siler II”). After conducting a hearing, the post-conviction court determined that the statute of limitations should have been tolled and that Petitioner was entitled to a full hearing on his petition for post-conviction relief. After conducting a full evidentiary hearing, the post-conviction court denied relief and dismissed the petition. We affirm the judgment of the post-conviction court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Joshua W. ChambersM2019-00694-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr. Trial Court Judge: Judge William R. Goodman, IIIOn January 5, 2017, the Montgomery County Grand Jury indicted Defendant, Joshua W. Chambers, for first degree premeditated murder of the victim, Richard Gibeau, and employment of a firearm during the commission of a dangerous felony. Defendant claimed he killed the victim in self-defense. On May 24, 2018, a jury convicted Defendant of second degree murder. The jury did not reach a verdict on the firearm charge. On November 21, 2017, after the victim was killed but before Defendant’s trial, the Tennessee Supreme Court issued State v. Perrier, holding “that the legislature intended the phrase ‘not engaged in unlawful activity’ in the self-defense statute [Tennessee Code Annotated section 39-11-611] to be a condition of the statutory privilege not to retreat when confronted with unlawful force and that the trial court should make the threshold determination of whether the defendant was engaged in unlawful activity when he used force in an alleged self-defense situation.” 536 S.W.3d 388, 392 (Tenn. 2017). The trial court instructed the jury using Tennessee Pattern Instruction 40.06(b) as it existed before it was amended to comply with Perrier. The instruction given to the jury erroneously required the jury, rather than the trial court, to determine if Defendant was engaged in unlawful activity. On appeal, Defendant argues that the trial court erred by giving an improper jury instruction on self-defense. The State concedes error in the self-defense instruction but claims the error was harmless. Defendant also claims the trial court erred by granting the State’s motion to amend the indictment on the day of trial, by permitting the admission of prejudicial evidence, by denying Defendant’s Motion for Judgment of Acquittal and Motion for a New Trial, and by submitting an incorrect verdict form to the jury. After a thorough review of the record and applicable case law, we find that the trial court committed reversible error by improperly instructing the jury on self-defense. Thus, we reverse the judgment of the trial court and remand for a new trial.&nbsp;            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              03/26/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Waynard Quartez WinbushE2018-02136-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge G. Scott GreenDefendant, Waynard Quartez Winbush, was convicted of various drug offenses and sentenced to an effective sentence of twenty-three years. On appeal, Defendant argues that: (1) he received ineffective assistance of counsel; (2) the trial court erred by failing to sever prejudicial offenses; (3) the trial court erred by failing to grant a new trial based on prosecutorial misconduct; (4) the trial court erred by failing to include lesser-included offenses in the jury instructions; (5) the trial court erred by failing to grant a new trial based on newly discovered evidence; (6) the trial court erred by failing to dismiss the case based on a violation of Defendant’s right to a speedy trial; (7) the trial court erred by failing to grant a new trial after failing to rule on Defendant’s pretrial motions; (8) the trial court erred by allowing the State to improperly introduce evidence; (9) the trial court erred by failing to grant a new trial based on witness perjury; (10) the evidence was insufficient to sustain the convictions; (11) the trial court erred by instructing the jury on the lesser-included offense of simple possession for conspiracy; and (12) the trial court erred by failing to grant a new trial based on cumulative errors. After conducting a full review of the record, we determine that Defendant is entitled to relief from his convictions for conspiracy in Counts 3 and 4 because the instructions given to the jury did not match the charges in the presentment, and we vacate Defendant’s convictions as to those counts. As to the remaining arguments, we find Defendant is not entitled to relief. Consequently, we reverse the judgments of the trial court in part and affirm the judgments in part.&nbsp;            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              03/24/20            
                      
                          
                      
                          
                  
                        
                      
              Harold D. Doss, Jr., And Johnathan Lamar Hathaway v. State of Tennessee M2019-00238-CCA-R3-PCAuthoring Judge: Judge Robert L. Holloway, Jr. Trial Court Judge: Judge Mark J. Fishburn Harold D. Doss, Jr., and Johnathan Lamar Hathaway filed separate petitions for post-conviction relief. Because Petitioners were tried together, the post-conviction court conducted a single post-conviction hearing and denied relief as to both Petitioners. Discerning no error, we affirm.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              03/24/20            
                      
                          
                      
                          
                  
            


      
    
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